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Anna M. Richmond

From:                            Lafferty, Riane <rlafferty@bsk.com>
Sent:                            Friday, May 27, 2022 5:52 PM
To:                              Anna Richmond
Cc:                              Liza Tommaney; Hickey, Michael
Subject:                         RE: Matalavage and NCSD et al


The informal agreement is fine. Thanks. Have a nice weekend.

Riane Lafferty
716.416.7030 Direct
716.949.7782 Cell


From: Anna Richmond <annamarierichmondesq@gmail.com>
Sent: Friday, May 27, 2022 2:59 PM
To: Lafferty, Riane <rlafferty@bsk.com>
Cc: Liza Tommaney <liza@tommaneylegal.com>; Hickey, Michael <mhickey@bsk.com>
Subject: Re: Matalavage and NCSD et al

                       External Email: Use caution before clicking links or opening attachments.
Thank you, Riane.

Are you folks comfortable with this informal agreement between counsel regrading the extension to the expert
deadlines, or would you prefer us to memorialize it in a request to the Judge?

We look forward to receiving Defendants' supplemental responses next week.

Have a pleasant holiday.

AMR

Anna Marie Richmond, Esq.
2500 Rand Building
14 Lafayette Square
Buffalo, NY 14203-1925

Voice: 716-854-1100
Fax: 716-856-6499

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Thank you.
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On Fri, May 27, 2022 at 11:12 AM Lafferty, Riane <rlafferty@bsk.com> wrote:

 Liza,



 That is fine with us.



 Regarding our response to your January 28, 2022 letter, we have received most of the additional documentation but
 are still waiting on a few additional items. Also, our office closes at 3 p.m. today and I will not be able to finish
 reviewing and bates numbering the documents that we do have. We will have our response to you next week.



 Best regards,

 Riane



 Riane Lafferty

 716.416.7030 Direct

 716.949.7782 Cell




 From: Liza Tommaney <liza@tommaneylegal.com>
 Sent: Friday, May 27, 2022 11:05 AM
 To: Lafferty, Riane <rlafferty@bsk.com>; Hickey, Michael <mhickey@bsk.com>
 Cc: Anna M. Richmond, Esq. <annamarierichmondesq@gmail.com>
 Subject: Matalavage and NCSD et al




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 Good Morning,

 We were informed last night that our expert witness was diagnosed with Covid-19 yesterday. In light of his diagnosis
 we are requesting an extension of time for his report. The report is currently due June 1, 2022; we propose an
 extension until June 15, 2022. We propose extending out all of the dates in paragraph 3 of the Second Amended
 Scheduling Order by two weeks. The balance of the dates on the order would remain in place.

 Please advise if you agree to the two week extension of the dates in paragraph 3.
                                                            2
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Thank-you. Liza

Elizabeth Tommaney, Esq.
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